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United States Courts
Southern District of Texas

April 9, 2020 FILED

MAY 20 2020
United States District Court David J. Bradley, Clerk of Court
PO Box 61010

Houston, Texas 77208

RE: United States v. Rhonda Fleming
No. 4:07-cv-513-1

Request for Compassionate Release or Release Based on Extraordinary Circumstances Due
to Coronavirus

Dear Judge Miller:

Your Honor, I have motions pending before your court requesting my release or for you to
modify my sentence to home confinement. I am sending this letter due to serious changes in my
circumstances. I have made requests to the Warden, as I have previously provided, so you have
jurisdiction to grant my request. The situation is worsening and day-to-day it is obvious the
prison officials are not capable of protecting inmates. Many organizations are suing or asking
Congress to act to save us. I am asking you for help after receiving an email from Families
Against Mandatory Minimums instructing me to ask my judge for relief because I fit the criteria
for transfer to home confinement.

First, 1 am more susceptible to the virus due to a surgery I had that removed a large amount of
my intestines, as well as being almost 55, and African-American. The Surgeon General stated
that these conditions put people like me at a higher likelihood of dying from the virus.

Second, the Bureau of Prisons is unable to quarantine inmates. There are 80 plus inmates in one
dorm. Some of these inmates are taken out into the community for various reasons during the
quarantine. The officers are walking around in the dorms without a mask. We have several
people exhibiting symptoms of the virus, but the Health Services staff will not test them so that
they can continue to say they have no confirmed cases of the virus.

Please Google "Ray Coleman” the local union president of the American Federation of
Government Workers. Mr. Coleman is a teacher here at FCl-Tallahassee. He was interviewed
by CBS and other prominent news organizations. Mr. Coleman describes how inmates are still
being transferred between different detention facilities and prisons. We are all being placed in
jeopardy. We have no ability to practice social distancing because the prison is overcrowded.
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Last, as you have heard, the virus is being underreported by the Bureau of Prisons. This is
causing a denial of care which is harmful to the inmates, officers, and the community. We have
had people passing out in the dorm, coughing, clearly exhibiting symptoms of the virus.

I know that my crime was a serious offense, but you did not sentence me to death or to be in fear
of my life, since February of this year. Please issue an order releasing me to home confinement
at my Mother's home tn Houston.

Respectfully,

Rhonda Fleming, Defendant
/s/ Rhonda Fleming
FCI-Tallahassee

PO Box 5000

Tallahassee, FL 32314

CERTIFICATE OF SERVICE

A copy of the same is served by the electronic filing of this Letter Bnef by the U.S. District
Clerk's office.

Rhonda Fleming
/s/Rhonda Fleming

 
